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 UNITED STATES U.S. DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 DREAMR LABS LIMITED,                                    :
                                                         :      Civ. Action No. 22-CV-1332-DG-TAM
                        Plaintiff,                       :
                                                         :
          -against-                                      :
                                                         :
 DELCHAIN LIMITED, DELTEC BANK & :
 TRUST LIMITED, BRUNO MACCHIALLI, :
 SUISSE FINANCE HOLDINGS, and                            :
 RICHARD IAMUNNO,                                        :
                                                         X
                        Defendants.

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                       RULE 7.1 CORPORATE DISCLOSURE STATEMENT

          Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, Defendants Delchain

 Limited and Deltec Bank & Trust Limited (collectively, “Defendants”) hereby certify as follows:

          Delchain Limited and Deltec Bank & Trust are both wholly owned subsidiaries of Deltec

 International Group. To the best of Defendants’ knowledge, no publicly held corporation owns

 10% or more of Deltec International Group’s stock.

 Dated: April 18, 2022                                     Respectfully submitted,


                                                             By: /s/ Paul M. Eckles
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                                            Attorneys for Defendants Delchain
                                            Limited & Deltec Bank & Trust Limited




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                                   CERTIFICATE OF SERVICE


           The undersigned certifies that on April 18, 2022, a true and correct copy of the Rule 7.1

 Corporate Disclosure Statement was filed with the Clerk of Court using the CM/ECF system,

 which will send notification of such filing to registered users in the case, including all counsel of

 record.



                                                               /s/ Paul M. Eckles
                                                               Paul M. Eckles




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